Case 2:23-cr-20369-TGB-EAS ECF No. 16, PagelD.39 Filed 07/07/23 Page 1of3 Ss

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN |
SOUTHERN DIVISION

L E

JUL 07 2023
CLERK’S OFFICE
UNITED STATES OF AMERICA, U.S. DISTRICT COURT
Plaintiff,
Case No. 23-cr-20369
v.
Hon. Terrence G. Berg
ERIC JAMES LANGLOIS,
Defendant.

DEFENDANT’S ACKNOWLEDGMENT OF INDICTMENT

I, ERIC JAMES LANGLOIS, defendant in this case, hereby acknowledge
that I have received a copy of the Indictment before entering my plea and that I have
read it and understand its contents.

I know that if I am convicted or plead guilty, I may be sentenced as follows:

Count One
18 U.S.C. § 922(g)(1), Felon in Possession of a Firearm

Punishable by up to 15 years’ incarceration, $250,000 fine, or both.

Count Two
18 U.S.C. § 922(0), Possession of Machine Guns

Punishable by up to 10 years’ incarceration, $250,000 fine, or both

Page 1 of 3

Case 2:23-cr-20369-TGB-EAS ECF No. 16, PagelD.40 Filed 07/07/23 Page 2 of 3

Count Three

26 U.S.C. § 5861(c), Possession of Firearm Made in Violation of National
Firearms Act.

Punishable by up to 10 years’ incarceration, $10,000 fine, or both.

WV

ERIC JAMES LANGLOIS
Defendant

Date: 117/23

Page 2 of 3
Case 2:23-cr-20369-TGB-EAS ECF No. 16, PagelD.41 Filed 07/07/23 Page 3 of 3

ACKNOWLEDGMENT OF DEFENSE COUNSEL

I acknowledge that I am counsel for defendant and that I have received a
copy of the Standing Order for Discovery and Inspection which requires all pre-trial
motions to be filed within twenty (20) days of arraignment.

JEA NO S
Counsel for Defendant

Date: 717129

Page 3 of 3
